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                 Lorain County Land Reutilization Corporation
                           Land Disposition Policy

Qualifications to Purchase Property
     Purchaser must not have an ownership interest in any tax delinquent real estate in Lorain
      County. This includes real property on tax payment plans with the Lorain County
      Treasurer.
     If the potential purchaser is a Limited Liability Company, the owners of the LLC must be
      disclosed and those individuals cannot have an ownership interest in any real estate in
      Lorain County that is tax delinquent.
     Purchaser must not own any property in Lorain County that does not meet local building
      codes. In the event that the LCLRC Board wishes to make an exception to this rule, at the
      time of transfer, the transfer agreements shall specify a maximum period of time for
      elimination or correction of such violations.
     Potential purchaser must complete application for purchase and submit to the Assistant
      Director of the LCLRC for review and consideration.
     Initial priority shall be given to the disposition of properties of insufficient size to permit
      independent development.
     Individuals who are offering to purchase blighted properties owned by the LCLRC for
      the purpose of rehab, must be on the LCLRC preapproved rehabbers list and must agree
      to the terms and conditions and timelines set out by the LCLRC
     Potential transferee must not have been the prior owner of any property that was
      transferred to the LCLRC as a result of tax foreclosure proceedings. An exception may be
      granted by LCLRC Board.

Side Lot Considerations
     A side lot is one who’s best ultimate use is transfer to adjoining property owner(s) due to
      the lot not being buildable or meeting other zoning conditions that limit its utility and
      marketability. Whether a lot qualifies as a side lot is within the sole discretion of the
      LCLRC.
     If the property being sold is a side lot, preference will be given to Owner-Occupants of
      adjoining lots if they otherwise qualify
     If a side lot, the property must be titled in the same name as the adjoining property and
      must be combined to the adjacent property, unless special circumstances render
      combination at the time of transfer impracticable or infeasible
     In the event that multiple adjacent property owners desire to acquire the same side lot,
      priority will be given as follows:
           o To a property owner who resides in a contiguous property
           o If both adjoining properties are owner occupied, then
                    To the property owner who needs the parcel for a driveway or any other
                       local code compliance issue;
                    To the property owner which, when the contiguous lots are combined, will
                       possess a regularly shaped lot conforming with municipal code;
                    To the owner that has maintained the property;
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                      To the owner having the greater contiguous border
                      If not resolved by above, the property will be split and transferred among
                       the interested contiguous owners, with each owner sharing equally in the
                       cost to complete the split. If owners do not agree to this, the lot shall be
                       sold to the owner with the highest bid.

Determining the Sale Price
       The following factors shall be taken into consideration when determining the appropriate
        sale price for all parcels:
            o The market value currently assigned by the Lorain County Auditor
            o The condition of any structure remaining on the property that will be transferred.
                Generally, properties will not be transferred with structures on them. The Land
                Bank will usually demolish all structures prior to sale of the property. Any
                transfer with a blighted structure will require strict rehabilitation requirements and
                timelines.
            o Whether the property is buildable and any issues related to the zoning and
                marketability of the property
            o The current market and economic status of the neighborhood where the property
                is located
            o The ultimate planned utility of the property which must be disclosed on the
                buyer’s application
            o Whether the purchaser is a non-profit or other community partner, governmental
                organization, or municipal entity
            o Administrative and transfer costs
            o Total costs to LCLRC in acquiring and maintaining the property to the point of
                transfer to the buyer
            o Side lots shall be sold for no less than $_______________. An exception to the
                minimum cost requirement exists for non-profit or other community partner,
                governmental organization, or municipal entity

Board’s Discretion and Timing
       All purchaser applications will be considered by the LCLRC Board on a case by case
        basis. Acceptance of past terms or considerations will not necessarily be taken into
        consideration for future transactions. All purchase agreements will be approved by the
        LCLRC Board of Directors.
       Property transfers shall be completed within a reasonable time frame and at the discretion
        of the LCLRC
       LCLRC staff shall review and confirm that all transfer requests are in compliance with
        LCLRC Policies and Procedures, as well as existing LCLRC and neighborhood plans.
        LCLRC reserves the right to modify or reject any proposal. LCLRC is not committed to
        take ownership of or sell any property until such time as they desire and until a written
        agreement has been entered into. All properties are sold AS IS at the time of transfer and
        LCLRC shall make no warranties.
       LCLRC Board reserves the right to demand deed restrictions be included in any deed and
        will enforce such agreed upon restrictions
